 

Debtor name

United States Bankruptcy Court for ihe: K AS AS cry District of KS

 

« = {Slate}
Case number (If known): _ gO AOBAS

 

C) Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Income

 

 

1. Gross revenue from business

CY None
Identify the beginning and ending dates of the debtor's fiscal year, which Sources of revenue Gross revenue
may be a calendar year Check all that apply (before deductions and

exclusions}

From the beginning of the Operating a business

fiscal year to filing date: = From of Jo Jonze to ‘Filing date C) other § 22/ jot EF

 

 

Mi? OD 7 YYYY
For prior year: From Of lot faciq to 12/3) f2orq EZ operating a business 7 SE7 26
MMfODIYYYY MM7OD/ YYY¥ C0 other SL LIT FE?
t —_—
i
: For the year before that: From | fos fao Bt. «fal si Jaols GA operating a business 7,336.7)
MMOD? YYYY MM? DDT YYYY OO) other $ { 67%, ‘

1
| 2. Non-business revenue

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1,

JALNone

 

 

 

Description of sources of revenue Gross revenue from each
source
(before deductions and
exctusions}
From the beginning of the
fiscal year to filing date: From to Fiting date —_--— $
MMfDD/YYYY
For prior year: From to
MM/ODIYYYY MM/ODSYYYY $
For the year before that: = From to
MM DDT YYYY MM/OD/YYYY $
Official Form 207 Statement of Financiai Affairs for Non-Individuals Filing for Bankruptcy page 1

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Debtor RexAw REA uy FMVEST. LAE W TS, je, Case number (itkeown), QO ~ ao Aas

Name

List Certain Transfers Made Before Filing for Bankruptcy

 

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90
days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
adjusted on 4/01/22 and every 3 years after that with respect to cases fited on or after the date of adjustment.)

 

 

 

 

 

 

 

 

LJ None
Creditor’s name and address Dates Total amount or value Reasons for payment or transfer
a4 Check all that apply
GhEAT Wersereky Ark i/ifa0 5 44 609.23 “A secureddobi
Craditor's name Te
ir ob 6 <BAw WEE Paset oy FRY 9 j O Unsecured loan repayments
Strect BSA Lf Ae QO Suppliers or vendors
~ . Oo Services
SHA WWE Re bb 903 42/1/9057 O on
City , Slate ZIP Gode . er
3.2, .
PAUTVAL OF mMAHA BOV% j2/aahiF 5 a9, ia3.3-7 BA Secured debt
Creditors nama
j2 $4 FAR Ag “yp FS 4e5 /22 N19 LL) Unsecured loan repayments
Street ] LJ Suppliers or vendors
SMAHA we ES jot Cl Services
4
Cily Slate ZiP Code 2) 2) f C} other

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
$6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in line 3. insiders include officers, directors, and anyone in contral of a corporate debtor and their relatives;
general partners of a partnership debtor and their relatives; affitiates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. 11 U.S.C. § 101(34).

Kh None

Insider's name and address Dates Total amount or value Reasons for payment or transfer
44,

 

Insider's name

 

 

 

Street

 

 

 

Cily State ZIP Code

Relationship te debtor

 

4.2.

 

Insider's name

 

 

Street

 

 

 

Cily Stale ZIP Coda

Relationship to debtor

 

 

 

 

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Debtor Rosmw A REBLTY  j# VEST MEWTS, FAO Case number Wino 2? “= AO ART

Namo

 

List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 9¢
days before filing this case unless the aggregate value of ail property transferred to that creditor is iess than $6,825. (This amount may be
adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

 

 

 

 

 

 

 

 

O None
Creditor's name and address Dates Total amount or value Reasons for payment or transfer
3 Check all that apply
33.
Som PLETE Cow«sTRICTIOV }J2efao 3 F Y 70.00 C1 Secured debt
Creditor’s name CL) Unsecured loan fapayments
Sireat if i ¥fa & T)_ suppliers or vendors
QO) senices
13 Fie/ 20 Me .
City Siaie ZIP Goda 12 Hef ag BB other Biotpive Pur Back,
) ALIS IE
aif .
we Bee Pesen far & thuylao 27, 585.67 O) Secured debt
Creditor's name C) unsecured loan repayments
Sireal 1/36 [20 oO Suppliers or venders
Cl Sewices
a) tg] 20 -
City Siala ZIP Coda eB ta Other BALD WE FAT BACK '

4, Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements, made within 4 year before fiting this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate vaiue of all property transferred to or for the benefit of the insider is less than
$6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in line 3. insiders include officers, directors, anc anyone in control of a corporate debtor and their relatives:
general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. #1 U.S.C. § 101(37).

4 None

Insider's name and address Dates Total amount or value Reasons for payment or transfer
44,

 

Insider's name

 

 

Streat

 

 

 

City Slate ZIP Coda

Relationship to debtor

 

4,2,

 

 

 

Insider's name

 

 

Street

 

 

 

City State ZIP Code

Ralationshtp to debtor

 

 

 

 

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Debtor A OT AW A f EALT ¥ } Vv VE ST mM EWTS i I. Case number grknown), 2b ~ RO Vas

Nema

 

 

 

5, Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property jisted in line 6.

a None

Creditor's name and address Description of the property Date Value of property
5.4,

 

Crecilor's name

 

 

Street

 

 

 

Cily Stale ZIP Coda
6.2,

Creditors nama

 

 

Streat

 

 

 

Cily Stale ZIP Code

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before fiting this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debtor's dlirection from an account of the debtor because the debtor owed a debt.

B. None

 

 

 

 

 

Creditor's name and address Description of the action creditor took Date action was Amount
taken
$
Cradilor’s name
Street
Last 4 digits of account number: XXXX-_
Clty State ZIP Coda

 
 

Kis Legal Actions or Assignments

 

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
was involved in any capacity—within 1 year before filing this case.

JA None

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case title Nature of case Court or agency’s name and address Status of case
aA. J Pending
Name CI on appeal
Case number Street oO Concluded
City Stale ZIP Code
i rtor 'S d address
Case title Court or agency's name and addre gO Pending
7.2.
O on appeal
Name
2) concluded
Case number
Street
Chy State ZIP Code
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3

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Debtor Rost A & EAT ¥ j Vv VES TMEV TS Case number ¢ikaown), Qo ~ Oo A as

Name

 

 

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

None

 

 

 

 

 

 

 

 

 

Custedian's name and address Description of the property Value
§.
Custodian's name
Case title Court name and address
Slreet
Name
- Case number
City State ZIP Code Streat
Date of order or assignment
Cily State ZIP Coda

 

 

Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of the gifts to that recipient is less than $1,000

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. None
Recipient's name and address Description of the gifts or contributions Dates given Value
9.4. Recipient's name $
Street
Cily State ZIP Code
Recipient's relationship to debtor
9.2 a $
‘= Racipient’s name
Slreel
Cily State ZIP Code
Recipient's relationship to debtor
Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.
UL] None
Description of the property lost and how the loss Amount of payments received for the loss Date of toss Value of property
occurred If you have received payments to cover the foss, for lost
example, from insurance, government compensation, or
tort liability, list ihe total received.
List unpaid claims on Official Form 106A/B (Schedule A/B:
Assets - Real and Personal Property).
WATER PAMAEE TO pore f 27K, 251,92 i2/201F 5 gf
~ F 2bL ALA faey @ sas]
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4

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Debtor A conn’ 74 R EE} LTY

Namo

Certain Payments or Transfers

 

Md VESTM £75, We Case number gf known) ao ~ ao 325°

 

14, Payments related to bankruptcy

seeking bankruptcy retief, or filing a bankruptcy case.

[9 None

Who was pald or who received the transfer?

 

1A.
Address

 

Streat

 

 

City Slate 2(P Code

Email or website address

 

Who made the payment, if not dabtor?

 

Whe was paid or who received the transfer?

11.2,

 

Address

 

Slreal

 

 

Clly State ZIP Code

Email or website address

 

Who made the payment, if not debtor?

 

a self-settled trust or similar device.

is None

Name of trust or device

if not money, describe any property transferred

 

 

if not money, describe any property transferred

 

 

12, Self-settled trusts of which the debtor Is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to

Do not include transfers already listed on this statement,

Describe any property transferred

 

Trustee

 

 

Official Form 207

 

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,

Dates Total amount or
value

Dates Total amount or
value

Dates transfers Total amount or
were made value

 

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Debtor ROSAVA  REWTY je EST MEWS, IE

Name

Case aumber ti known) Ao~ 20 AAS

 

 

13. Transfers not already listed on this statement

i None

Who received transfer?

13.4,

List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs,
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

Description of property transferred or payments received Date transfar Total amount or
or debts paid in exchange

was made value

 

Addrass

 

 

Slreat

 

 

City Stata ZIP Code

Relationship to debtor

 

Who received transfer?

 

 

 

Address

 

Street

 

 

Clty State ZIP Code

Relationship to debtor

 

Previous Locations

 

 

14.Previous addresses

BH Does not apply

 

 

 

 

 

 

 

List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

 

 

 

Address Dates of occupancy

14.1. From To
Slraal
City State

14.2. From To
Streat
City State

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Debtor KRovawvn A EALTY eb EST MEWS JUS 20-2226

Case number (xncwn)
Name

 

Health Care Bankruptcies

 

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
— diagnosing or treating injury, deformity, or disease, or
— providing any surgical, psychiatric, drug treatment, or obstetric care?

i No. Go to Part 9.
LI Yes. Fill in the information below.
Facility name and address Nature of the business operation, including type of services the If debtor provides meals

debtor provides and housing, number of
patients in debtor's care

 

 

 

 

 

 

 

 

 

 

 

 

 

 

15.1.
Facility name
Streal Location whore patient records are maintained {if different from facility How are records kept?
address). If electronic, identify any service provider.
Check all that apply:
Cily Stala ZIP Cede OQ) Electronically
CJ Paper
Facility name and address Nature of the business operation, including type of services the If debtor provides meals
debtor provides and housing, number of
patients in debtor’s care
15.2.
Facifily nama
Street Location where patient records are maintained (if different fram facility How are records kept?
address). If electronic, identify any service provider,
Check aif that apply:
Gily Slate ZIP Code 1 Electronically
Cl] Paper

Personally Identifiable Information

 

16.Does the debtor collect and retain personally identifiable information of customers?

No.

LY Yes. State the nature of the Information collected and retained.
Does the debtor have a privacy policy about that information?
2) No
2) ves

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401 {k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

 

©] No. Go to Part 10.
Yes. Does the debtor serve as plan administrator?
C} No. Go to Part 10.
& Yes. Fill in below:

 

Name of plan Employer identification number of the plan
cAeeTiv & PLAXM HG en FA-YRT74HAZS
Has the plan been terminated?
C} No

4 Yes

 

 

 

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Debtor KODA A AFA LT? / fi v LES THEW 7S, / we Case number (#énown} 2H “Ad a 25

Nama

 

 

Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
brokerage houses, cooperatives, associations, and other financiat institutions.

a None

 

 

 

 

 

 

 

 

Financtal institution name and address Last 4 digits of account Type of account Date account was Last balance
number closed, sold, moved, before closing or
or transferred transfer

18.1, XOXKKE C) Checking 5

Ni — ——_—_..____...

ame C) Savings
Streat Q) Money market
C) Brokerage

Cily State ZIP Coda CI other
18.2, XXXX C Checking —____ sg

Name Q Saviags

Street LJ Money market

 

Q Brokerage
City Slate ZiP Code QC) other

 

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 4 year before filing this case.

& None

 

 

 

 

 

 

Depository institution name and address Names of anyone with access to it Description of the contents cris cebter
QO No
Name Q Yes
Streat
Address
City State ZP Code

 

 

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

oe. None

Does debtor

 

 

 

 

 

 

 

 

 

 

Facility name and address Names of anyone with access to it Description of the contents still have it?

CI No
C] yes

Name

Slreat

Address
Cily Stale ZIP Code
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 8

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pein ACY A REMLTY Je yesp MEWTS WC

Name

BO ~ 3-0 BAS

Case number (if knawn)

 

  
 

oat Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another

List any property that the debtor holds or controls that another entity owns. Include any properly borrowed from, being stored for, or held in
trust. Do not list leased or rented property.

oO flone

 

 

 

 

 

 

 

Owner's name and address Location of the property Description of the property Value
BLUE VALLEY Sukeicse Assoc 266 A/B FURATUAE + EQuityeep SLA
Nama

[2920 MET¢aAce AVE 990 FABT FT Seay

Street S3.At B+ SEY

QUERAND PARK KS Lb a;3

-
Cily State ZIP Cada

Details About Environmental Information

 

For the purpose of Part 12, the following definitions apply:

uw Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
regardless of the medium affected (air, iand, water, or any other medium).

% Site means any focation, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtar
formerly owned, operated, or utilized.

& Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
or a similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

$l No

LJ Yes. Provide details below,

 

 

 

 

 

 

 

 

Case title Court or agency name and address Nature of the case Status of case
Q Pending
Case number Name CY on appeal
LI Concluded
Street
Gily State ZIP Code

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in viclation of an
environmental law?

tal No

Q) Yes. Provide detalls below.

 

 

 

 

 

 

 

 

 

Site name and address Governmental unit name and addrass Environmental law, if known Date of notice
Name Name
Straat Slraet
Cily Stata ZIP Code Chy State ZIP Code
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptey page 2

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Debtor K os AeA A SACTY [af VESTMETVTS, LE Case number trtiow Std? Aye ALS

Nama

: 24, Has the debtor notified any governmental unit of any release of hazardous material?

C} No
Q} Yes. Provide details below.

 

 

 

 

 

 

 

 

Site name and address Governmental unit name and address Environmental law, if known Date of notice
—

Name Name

Streat Straal

City State ZIP Cads City State ZIP Code

  

Details About the Debtor's Business or Connections to Any Business

, 25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in contral within 6 years before filing this case.
Include this information even if already listed in the Schedules.

 

 

 

 

 

 

 

i (} None
Business name and address Describe the nature of the business Employer Identification number
Do not include Sacial Security number or (TIN,
os, PAD THe pest have AES Teh AVT EN 4Z-JSBoe Ff 33
, Name . . Dates business existed
PO. Boy 2446l,
Streat
OVERL Ard PARK KS From 0/3 to adJsG
L693
Clty Stale ZIP Code
25.2 Business name and address Describe tha nature of the business Employer Identification number

Do not include Sostai Security number or ITIN,

PARADISE peek Gy jARJE Mite Cuan y EN Y2-Yuyera S 20

 

 

 

 

 

 

 

 

 

 

 

Nama . Dates business existed
Po. Box 3 uYbe
Street
OVER iAwn fret, KS From 46 OF To Daf?
66 28 2
Clty Stale ZIP Code
Business name and address Describe the nature of the business Employer Identification number
Do not include Sociat Security number oz ITIN.
a PHS MEDS Y ATIAS, Ie BY PRINTING co EN 4? -4YP?OSEE D
4 dD. Bex AYUYDE Dates business existed
Street

 

COVER Lage Fone From. 0/4 to QO/G

City State ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 10, :

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Debtor OST 4. KREACTY swiesT MEWTS, WC.

Nama

Case number qt known)

SO- 260825

 

24. Has the debtor notified any governmental unit of any release of hazardous material?
O No
Cl Yes. Provide details below.

Site name and addrass Governmental unit name and address

Environmental law, if known

Date of notice

 

 

 

 

 

 

Name Name
Street Street
Cily Stata ZIP Code City State ZIP Cade

Details About the Debtor's Business or Connections to Any Business

 

28, Other businesses in which the debtor has or has had an interest

Include this information even if already listed in the Schedules.

(4 None

Business name and address Describe the nature of the business

254, Res Bret STAFF WG. S yes
Name
ho. 6 Cx 24466

Street

OVERL AWD PARK, KS
Lb2S%

ZIP Code

STAFF ite €0O

 

 

City Stale

Business name and address Describe the nature of the business

25.2.

Tih consTRucriey <6, the Cow STANT OV

Nama

Po. 6e¥% auyoe

Street

OVEKLAWvn PrRid, &S
66 2s 2

ZIP Cade

 

 

Cily Stata

Business name and address Describe the nature of the business

WEIGHT Loss HEADACHE
63 CLEWTEAS oF AMERICA
Name
Po. 8% 2YYe6

Slreat

OvER bv frit its
6608

ZIP Code

HERCIA CARE

 

 

 

City Slate

 

List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.

Employer Identification number
Do not include Secial Security aumber or TIN.

EIN J - 2 iy. & 76 f

Dates business existed

From 20097 To Dose

Employer Identificatlon number
Bo not include Social Security number or ITIN.

ENF] -Qs26 3B2¢

Dates business existed

From 2D)35 To 24fs

Employer Identification number
De not include Social Security number or TIN.

EN 2O-Q2Sza ISG

Dates business existed

From 2004 to 2aly

 

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Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Dabtor ROSAwaA REALTY f/f VEST IM EWTS IC Case number ¢snown) Oo- 2g aa as

Name

 

! 24. Has the debtor notified any governmental unit of any release of hazardous material?
' LD No
| () Yes. Provide details below.

 

 

 

 

 

 

Site name and address Governmentai unit name and address Environmental law, if known Date of notice
Name Nama
Street Streal
City State ZIP Coda Sily Slate ZIP Code

Details About the Debtor's Business or Connections to Any Business

 

 

_ 25, Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TI None
Business name and addrass Describe the nature of the business Employer identification number
i Do not Include Social Security number or ITIN,
De ote _ IN: - oF st
. ot, ROTAGA PROP EAAIRS REAL ESTATE EIN: ¢-)_ - 2OR 47 sT
‘ Nape , Dates business existed
fio. Box 24406
Street
OVERL Ad PARK, HS From _2.00$" To DOBO
Bb2F3
Cily State ZIP Cade
Business name and address Describe the nature of the business Employer identification number
28.2. Do not include Soctal Security number or ITIN.
UroP tA Faams syc SEAL ESTATE EN Y 7-SBYSFT QQ’
: Name Dates business existed
fo. Box 2UY4bG
Street
EG as 2
City Stale ZIP Code
Business name and addrass Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.
aa, HOSPITAL NG} cCeaPr HEALTH CAAR EIN: _“> => -iF lovey
ws oD. & cK AYY DES Dates business existed
Streat
OVERALL a AAC ibs
BLS From 2472 To aa ly
Cily Slate ZIP Code
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Dabtor A SSAVA REM uv ¥ [VEST gm EWES / we Case number (if kngwn), 2 o ™ 2 o a AS

Name

 

 

’ 24.Has the debtor notified any governmental unit of any release of hazardous materiai?
CY No

Cl ves. Provide details below.

 

 

 

 

 

 

Site name and address Governmental unit name and address Environmental law, if known Date of notice
Name Name

Street Strasl

Gily State ZIP Cade City Stata ZiP Coda

Details About the Debtor's Business or Connections to Any Business

 

25. Other businesses in which the debtor has or has had an interest
List any business for which the deblor was an owner, partner, member, or othenvise a person in controt within 6 years befare filing this case.
Include this information even if already listed in the Schedules.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CQ) None
Business name and address Describe the nature of the business Employer Identification number
Pr wy ACLE HATH CARE Da not include Social Security number or ITIN,
— . _ ‘3 . =
at SYSTEMS swe HEALTHCARE EN §'S-) 34 3E5 2
Name , . Dates business existed
Po. Bay 24466
Street
OVERL AW) PARK, KS From ROVS 7, Peeseny
oF ty as"
Chy Stata ZIP Goda
Business name and address Describe the nature of the business Employer Identification number
26.2. Do not include Social Securily number or (TIN.
i y a
PIVUVACHE REE SeSPITAL IWS Meaty ARE AN 22 -| 2OQES
Name Dates business existed
bo. b6oX% auyyet
Slreal
OVER SiR MS From 2008 to fPARSEVT
66 2S 2
Clty State ZIP Code
Business name and address Describe the nature of the business Employor Idontification number
Do not include Sociai Security number or ITIN.
ma PU WAcLe REG Hospyral, Khe HE ALT H <A a EN B2-BSEeecoyl ¥F
Name
jp QD. a cH AYY LG Dates business existed
Streal
OvEA lin fA Ks
LLaATs From ROE To PRAESEWT
Clty State ZIP Code
Official Form 207 Statement of Financial Affairs for Non-Individuats Filing for Bankruptcy page 10,"

Case 20-20219 Doc#153-1 Filed 04/14/20 Page 14 of 45

 

 
Debtor Rothwa REALTY  fuyesr MENTE, [OC

Name *

| 24.Has the debtor notified any governmental unit of any release of hazardous material?

(J No
CD ves. Provide details below.

3 oo
Case number (known) RO 7“ a 62 do

 

 

 

 

 

 

Site name and address Governmental unit name and address Environmental law, if known Date of notice
Name Name
ee
Slreal Streat
Clly Slale ZIP Code Cily Stala ZIP Code

 

 

' 26. Other businesses in which the debtor has or has had an interest

Details About the Debtor's Business or Connections to Any Business

List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case,

Include this information even if already listed in the Schedules,

j C) None

Business name and address
: aly e VALLEY YPEnLTH
| 24 GARE SYSTEMS sac,

Name .
BO. Box 2y40f,

Describe the nature of the business

HEALTH CARL

 

 

 

 

 

 

 

 

Slraal

OVERL AWD PARK KS

LO2E3
City State ZIP Code
262 Business name and address Describe the nature of the business
BLuY VALLEY sunetcan Assow HEALTH cCHKE

Name

Po. BoX% nuUygbe
Street

 

OVER LAwn (ARK, KS
b6 2&2

Cily Stale ZIP Gode

Business name and address Deserthe the nature of the business

23 OYM AMIS Lore fA adwers MEDICAL Asp

 

Employer Identification number
Do not include Soclat Security number or ITIN,

EIN: 6 7-JG O Ao zy

Dates business existed

From _ OSes To (ARS EYT

Employer Identification number
Do not include Social Security number or FTIN.

em: 27.7 GE} COT

Dates business existed

From 2? Sto PARSE

Employer Identification number
Do not Include Social Security number or TIN,

aN: 4 Toy G7e 4 FB

 

 

 

 

 

wm 2. & cA AUYL & Dates busi existed
Sireal
Cv Ridin fred its _
LCAZTS From 2OFQ to PAPSEWT
Cily State ZIP Code
Official Farm 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 10 f

Case 20-20219 Doc#153-1 Filed 04/14/20 Page 15 of 45

 
Debtor Rosia A REALTY Liv VEST MEW 7S, F@e, Case umber wirom, 20 ~ PO a2s

Narme

 

 

24.Has the debtor notified any governmental unit of any release of hazardous material?
$6h. No

L} Yes. Provide details below.

 

 

 

 

 

 

 

Site name and address Governmental unit name and address Environmentai law, if known Date of notice
Name Name

Street Streat

City Slate ZIP Code City State ZIP Code

 

Details About the Debtor's Business or Connections to Any Business

25, Other businesses in which the debtor has or has had an Interest

List any business for which the debter was an owner, pariner, member, or otherwise a person in control within 6 years before filing this case,
Include this information even if already listed in the Schedules.

LJ None

Business name and address Describe the nature of the business Employer Identification number

soe / Do not include Social Security number or ITIN.
Rosnws REALTY! Inc: -£
neon oot REAL ESTAIE co EIN SS. fo Qa.aAs ¥

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

25.1.
Name : . Dates business existed
LO. Box BYyyoG
Street
OVER LW) Prk, KS From 20416 to DAig
GEQE%
City Slate 2tP Code
Business name and address Describe the nature of the business Employer identification number
25.2, Do not include Sociat Security number ar fTIN,
‘ . 7 tors a 4
DYS MASESTIe PaAMPISE src FE pam EN AG7 Cb PFA] |
Name Dates business existed
PO.ac% 924406
Slreet
QUERLAMD PARK £S From _24@ Y To PRESEMT
b6ars
Cily State ZIP Coda
Business name and address Describe the nature of the business Employor Identification number
Do not include Secial Security aumber or ITIN.
25.3. EIN
Name Dates business existed
Sireet
From To
City State 4lP Gade
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1045

Case 20-20219 Doc#153-1 Filed 04/14/20 Page 16 of 45
pepe ROTAWA  RERLTY jw VEST IME WTS (VC casonumrerimam 209 -BOaas

 

Name

 

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

A None

 

 

 

 

Name and address Dates of service
26a, From _s—“<téiCTCGQW

Nama

Street

Cily State ZIP Coda

Name and address Dates of service

oa From _——“<té«‘STTV

 

Nama

 

Street

 

 

City State ZIP Coda

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or Prepared a financial
statement within 2 years before filing this case.

None

Name and address Dates of service

26b.1 From_—t—é‘iTCQ

 

Name

 

Street

 

 

Cily State ZIP Cada

Name and address Dates of service

2ah.2 Fram To

 

Name

 

Street

 

 

Cily Stale ZIP Code

26¢. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

w@ None

Name and address

26c.4. Dove AS c. PALE

If any books of account and records are
unavailable, explain why

 

Name

24 fAwoAAmA <tE8t AVE

 

Streat

 

CAS VEGAS WY 2 F/3S

Gity Slate ZIP Code

 

 

 

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 11

Case 20-20219 Doc#153-1 Filed 04/14/20 Page 17 of 45
 

bebe RETA Reet

Nama

26c,2,

Name and address

Y )MVEST NENTS | Me Case number {if ttnewa} 26 7 2 & 225
J i

If any books of account and records are
unavailable, exptain why

 

‘Nama

 

oe
Pe

 

Sireet

 

wo

 

 

 

 

City

State ZIP Coda

26d. List all financial institutions, creditors, and other parties, including mereantile and trade agencies, to whom the debtor issued 4 financial Statement
within 2 years before filing this case.

Kn

26.1.

264.2,

one

Name and address

 

 

Name

 

 

 

Streat

 

 

 

 

City

Name and address

State ZIP Code

 

Nama

 

Slreal

 

 

City

27, Inventories

Slate ZIP Code

Have any inventories of the debtor's property been taken within 2 years before filing this case?

EE No

QQ) Yes. Give the details about the two most recent inventories,

Name of the person who Supervised the taking of the inventory Date of The dollar mount and basls (cost, market, or
inventory other basis) of each Inventory
$e

 

‘ Name and address of the person who has possession of inventory records

27.7,
Name

 

 

Street

 

 

Clty

Official Form 207

 

State ZIP Code

Statement of Financial Affairs for Non-Individuais Filing for Bankruptcy page 12

Case 20-20219 Doc#153-1 Filed 04/14/20 Page 18 of 45
 

ResAvA A ERLTY INVESTMEMS pre

 

 

 

 

 

 

 

 

Debtor aa Case number ¢inowns 2O- 20 225,

Wm:

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory
So
Name and address of the person who has possession of inventory records
27.2,

Nama
Streat
City State 2IP Coda

people in contro! of the debtor at the time of the filing of this case.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other

 

Name Address Position and nature of any % of interest, if any
interest
Dolelas <, PAIZER 2y faworamn eRhESsT AVE AW WER | a0

Lis VeFeae pl 87/35

 

 

 

 

No
LY Yes, Identify betow.

Name Address

29.Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
of the debtor, or shareholders in control of the debtor who no longer hold these positions?

Position and nature of

Period during which
any interest

Position or interest was
held

 

From To
From To
From To

From To

 

30, Payments, distributions, or withdrawals credited or given to insiders

bonuses, loans, credits on loans, stock redemptions, and options exercised?

BL No

LI Yes. Identify below.

Name and address of recipient

30.1.

 

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,

Amount of money or
description and value of
Property

Dates Reason for

providing the value

 

Name

 

Street

 

 

City State ZIP Cada

Relationship to debtor

 

 

 

 

 

 

Official Farm 207

Statement of Financ ial Affairs for Non-Individuals Filing for Bankruptcy

page 13

Case 20-20219 Doc#153-1 Filed 04/14/20 Page 19 of 45
Debtor Rest REALTY LCVEST MEWTS, Affe Case number (i knawn) 2g —~ BO BAS

Nama

 

 

 

Name and address of recipient

 

 

 

 

 

30.2
Name
Streat
Cily State ZIP Code
Relationship to debtor

 

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
No

Q yes. Identify below.

Name of the parent corporation Employer Identification number of the parent

corporation

 

$2. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

CY No
w Yes. Identify below.

 

Name of the pension fund Employer Identification number of the pension fund
CAsrrivE  PLawwi ve EN FA. Yo Py | 3

Signature and Declaration

 

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Stafement of Financial Affairs and any attachments and have a reasonable belief that the information
is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon ©Y as A68D
MM /DD /YYYY

x C) og: fy Printed name DouGLAS cc. fA Log

Signature af indiviguAl signing on beni of the debtor

Ws Ve 2
Position or relationship to debtor ©

Are additional pages to Statement of Financial Affairs for Nen-individuats Filing for Bankruptey {Official Form 207} attached?
C) No

Yes

 

 

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 14

Case 20-20219 Doc#153-1 Filed 04/14/20 Page 20 of 45
i MvesT mers pie

q “a “
United States Bankruptcy Court forthe: WY SAS Cir District of ks

(Slate)

Case number (if known): QL —RO a ay

 

 

(J Check if this is an
amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 

12415

   

; Summary of Assets

1, Schedule A/B: Assets~Real and Personal Property (Official Form 206A/B)

 

1a. Real property:
Copy line 88 from Schedule A/B $ {0 2 OF ©

 

 

ib. Total personal property:

Copy line 91A from Schedule A/Biicsccescseccsecsessssssssssssssscssaressessssssasessussnussussusssuasssassasesseessesssesssesseagsutssuresutssuesesceeceseee $ ~hy 261 BH 20

ic, Total of all property:

8{2,2)9 o76.ap
Copy line 92 from Schedule A/B a cssssssseceecesseecsessecsecssnssnsssessssssesecssssvessrsavennsssssarssssssvssvastusasssssssesarsanenapeatsssesssasecccccs

 

 

 

 

 

 

7 Summary of Liabilities

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, fromline 3 of Schedule D

i vy

 

4. Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

3a. Total claim am ounts of priority unsecured claims:
Copy the total claims fromPart 1 fromline 5a of Schedule E/F

 

 

3b. Total am ount of claims of nonpriority am cunt of unsecured claims:
Copy the total of the amount of claims fromPart 2 fromline 5b of Schedule E/F

 

 

4. Total liabilities.

Lines? + 3a+ Sp 2 £ $7, BOE GIES rs

 

 

 

 

Official Form206Sum CaS 2Quah aks aleAcahdiitatiities forted-MatuddeO Page 21 of 45 page 1
Debtor name Rotawa ARenAity LWVEST MENTS | JWe

United States Bankruptcy Court for the: Kaus ke CITY _districtot KS

(State)
Case number (If known): 10 - 20225 ) Check if this is an

amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12145

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit, Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 2066).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known), Also identify the form and line number to which the additional information applies. if an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

 

 

: 1. Does the debtor have any cash or cash equivalents?
LY No. Go to Part 2.

4 yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor's ;
interest

2, Cash on hand $ gd

3. Checking, savings, money market, or financial brokerage accounts (/dentify ail)

 

 

 

 

 

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
31. MUTH AL OF OF AYA BANK CHECIEIVME _& fo 5 $ BOR SF
32. GARY wesreta Avan Cheech: rE Tt # 4 S$ 8 <3.01>
_ 4. Other cash equivalents (identify ail)
AA. MIA $
4.2. wv) A $
5, Total of Part 1 $ 366,67
: Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

 

Deposits and prepayments

 

 

' 6. Does the debtor have any deposits or prepayments?

[3 No. Go to Part 3.
wa Yes. Fill in the information below.

Current value of
debtor's interest

7. Deposits, including security deposits and utility deposits

Description, including name of holder of deposit

71. EVER GY C ELECTRI o>
Va.

Ww

SF 30,00

A 4

 

Official Form 206NB Case 20-20219 Sehese AS: AssefsiteRPaard Aesenel Frepenty 22 of 45 page 4
peor «| CTA REMC TY JW PESTMEWTS , WE

Name

. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Description, including name of ho!der of prepayment

Case number tit dnote 20 ~ 29 225

 

 

 

 

 

8.1. $
8.2, §

9. Total of Part 2. .
Add lines 7 through 8. Copy the tofal to line 81,

 

10.

“4,

12.

  

14.

15.

16.

17.

» 43.

Accounts receivable

Does the debtor have any accounts receivable?
QI No. Go to Part 4,
& Yes. Fill in the information betow.

Accounts receivable

1a. 90 days old or less: ~ FD
face amount doubtful or uncollactible accounts

11b. Over 90 days old: - Fe

face amount doubtful or uacellectible accounts

Total of Part 3
Current value on lines 114 + 11b = line 12. Copy the total to line 82,

 

 

Current value of debtor's |
interest ;

5 319, 312,93

s_1, 138, 7),74

 

 

s_ HAST GS 62

 

 

 

Does the debtor own any investments?
9B No. Go to Part 5.
C) Yes. Fill in the information below.
Valuation method
used for current value
Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:
14.4,
14.2.

 

 

Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture
Name of entity: % of ownership:

15.1,
18.2. %

Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1

Describe:
16.1.

 

Current vaiue of debtor's ;
interest

 

 

16.2.

 

 

Total of Part 4
Add lines 14 through 18. Copy the total to line 83.

 

 

 

 

Official Form 2064/8 Case 20-20219 Brhetld HB-AssetPHeRbD and Ppiaéhal Prongy 23 of 45 page 2
 

Debtor ROdAwsA Kemet 7 [Re 1B Tew ys, iv © Case number (ir snown}, 20 ~ Ae Aas”

Name

Inventory, excluding agriculture assets

 

 

18. Does the debtor own any inventory (excluding agriculture assets)?
fl No. Go to Part 6.
CJ Yes. Fill in the information below.

General description Date of the last Net book value of Valuation method used Current value of
physical inventory debtor's interest for current value debtor's interest

(Where available)

49. Raw materials

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

mibryw = S $
20, Work in progress
uaa TBO TYYYY™ $ §
_ 21. Finished goods, including goods held for resale
ii ODT WY $ §
: 22. Other inventory or supplies
ima TOOT” $ $
' 23, Total of Part 5 $
Add lines 19 through 22. Copy the total to line 84.
. 24, Is any of the property listed in Part 5 perishable?
LY No
O ves
. 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
No
C) Yes. Book value Valuation method Current value
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
{J No
C) yes
Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land}?
4 No. Go to Part 7.
C) Yes. Fill in the information below.
General description Net book vaiue of Valuation method used Current value of debtor's |
debtor's interest for current value interest :
(Where available)
28. Crops—either planted or harvested
$ $
29. Farm animals Examples: Livestock, poultry, farm-raised fish
$ 5
* 30. Farm machinery and equipment (Other than titled motor vehicles)
8 $
. 31. Farm and fishing supplies, chemicals, and feed
$ $
’ 32. Other farming and fishing-related property not already listed in Part 6
$ $

 

Oficial Form 2068 Case 20-20219 BRIedHE AIBAssetriteReaDandlPh/ mal Pag 24 of 45 page 3
 

 

Debtor , KOT Aw A REACT 7 } MVEST MEMS, Hee Case number Gt kiawn) 20o- a on ay

Nama

 

 

 

 

 

 

 

 

 

 

 

 

 

33. Total of Part 6. 5
Add lines 28 through 32. Copy the total to line 85.
34. Is the debtor 4 member of an agricultural cooperative?
Q No
CJ ves. Is any of the debtor's property stored at the cooperative?
LJ No
: CQ) Yes
. 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
CI No
CI) Yes. Book value $ Valuation method Current value $
_ 36. Is a depreciation schedule available for any of the property listed in Part 6?
CI No
(1) ves
' 37. Has any of the property listed in Part 6 been appraised by @ professional within the last year?
LJ No
C) Yes
Office furniture, fixtures, and equipment; and collectibles
: 38, Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
RA No. Go to Part 8.
CI Yes. Fill in the information below.
General description Net book value of Valuation method Current value of debtor's ;
debtor's interest used for current value interest
(Where available)
: 39. Office furniture
$ $
40. Office fixtures
$ $
41. Office equipment, including ail computer equipment and
communication systems equipment and software
$ $
' 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
: artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card coltections; other collections, memorabilia, or collectibles
42.1 $ $
42.2 $ $
42.3 $ $
"43. Total of Part 7.
Add lines 39 through 42. Copy the total to line 86. $

 

 

 

~ 44. Is a depreciation schedule available for any of the property listed in Part 7?

O No
LJ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

L) No
Q Yes

Official Form 2064/8 Case 20-20219  BrbadilelSBAssets=ithealan mPa soGat Pfasate 25 of 45 page 4
Debtor . RET AWA BEACTY fi¥ VEST Mews, fe Case number cf known), DL ™ ae 2as”

Name

Machinery, equipment, and vehicles

 

 

46. Does the debtor own or lease any machinery, equipment, or vehicles?
BY No. Goto Part 9.
QD) Yes. Fill in the information below.

General description Net book value of Valuation methed used Current value of
debtor's interest for current value debtor’s interest
Include year, make, model, and identiffeation numbers (.2@., VIN,

HIN, or N-number) (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

 

 

 

47.1 $ 4
47.2 $ 5.
47.3 $ §
474 $ $

 

. 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
: trailers, motors, floating homes, personal watercraft, and fishing vessels

48.1 $ $
48.2 $ $

49. Aircraft and accessories

49.1 $ $
49.2 $ $

’ 60. Other machinery, fixtures, and equipment (excluding farm
machinery and equipment)

 

» 51. Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.

 

 

 

: 52. Is a depreciation schedule available for any of the property listed in Part 8?

QO No
L) Yes

. 53. Has any of the property listed in Part & been appraised by a professional within the last year?

QO No
CQ) Yes

Official Form 2068 Case 20-20219 Siecle ABB Agsets-iREhGdY beldahal prhxage 26 Of 45 page 5
coor | AOSTA REALTY Leys Tpuerrs ! ase ountver eum 2D— 20-225

Name

CH] Real property

 

 

: 54, Does the debtor own or lease any real property?
Cl No. Go to Part 10.
G8 Yes. Fill in the information below.

59. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

 

 

 

 

 

 

 

 

 

 

 

Description and location of property Nature and extent Net book value of Valuation method used Current value of
Include street addrass or other description such as of debtor's interest debtor's interest for current value debtor’s interest
Assessor Parcel Number (APN), and type of properly in property (Where available)
(for example, acreage, factory, warehouse, apartment
or office building), if available.
55.1_ 3 $
55,2 $ 3
56.3 SEE _ATtACHED 8 §
55.4 $ $.
55.5 $ 3
55.6 $ $
_ 56. Total of Part 9. $ jO.SS¢e ove
. - vy . Tg
Add the current value on jines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88. °

 

 

 

57. Is a depreciation schedule available for any of the property listed in Part 97

Q) No
A Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
wg No
L) ves

  

Intangibles and intellectual property

 

» 59. Does the debtor have any interests in intangibles or intellectual property?
No. Go to Part 11,
CD Ves. Fill in the information below.
General description Net book value of Valuation method Current value of
debtor's interest used for current value debtor's interest
(Where available)
60. Patents, copyrights, trademarks, and trade secrets

 

 

 

 

 

 

 

$ $
61. Internet domain names and websites
$ §
62. Licenses, franchises, and royalties
$ $
' 63. Customer lists, mailing lists, or other compilations
$ $
64. Other intangibles, or intellectual property 5
$
65. Goodwill
4 $ §

 

 

 

66. Total of Part 10.
Add lines 60 through 65. Copy the total to line 89,

 

 

 

Official Form 2064/8 Case 20-20219  brdleVOR Absets-ieeadd P4dadal Ploeg 27 of 45 page 6
Debtor , ROwAALA SEAL TY JMVES THES , WO Case number yr kacwn) PO -I9If92 CS

Namo

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
LY No
QQ yes
' 68. Is there an amortization or other similar schedule available for any of the property listed in Part 107
U No
C) Yes
69. Has any of the property listed! in Part 10 been appraised by a professional within the last year? :
CF No
O) ves

A All other assets

  

 

70. Does the debtor own any other assets that have not yet been reported on this form?
, tnclude all interests in executory contracts and unexpired leases not previously reported on this form.

Bl No. Go to Part 12.

CO Yes. Fill in the information below.

Current value of
debtor’s interest

: 71. Notes receivable
Description {include name of obfigor)

 

Tatal face amount doubtful or uncollectible amount
. 72, Tax refunds and unused net operating losses (NOLs)

Description (for example, federal, state, local)

 

 

 

 

Tax year $
Tax year $
Tax year $

' 73. Interests in insurance policies or annuities

 

' 74. Causes of action against third parties (whether or not a lawsuit
has been filed)

 

Nature of claim

 

Amount requested $

- 75. Other contingent and untiquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims

 

Nature of claim

 

Amount requested $

 

76. Trusts, equitable or future interests in property

 

77. Other property of any kind not already listed Examples: Season tickets,
country club membership

 

 

 

78. Total of Part 11.
Add lines 71 through 77. Copy the total to line 90,

 

 

 

. *9, Has any of the property listed in Part 11 been appraised by a professional within the last year?

CL) No
A Yes

Offa! Form 206A/B Case 20-20219 oesdwle RB Assets Behiand Paka! Page 28 of 45 page 7
Dabtor ‘ ROA BREALT i fie VES MEW Ee, IW Case number (i#énowa} ae 7 ao BIG

Name

 

Summary

 

 

In Part 12 copy all of the totals from the earlier parts of the form.

Type of property Current value of Current value :
personai property of real property :
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1. $__ "369. 67
81. Deposits and prepayments. Copy fine 9, Part 2. s 33p_£0
z oo
82. Accounts receivable. Copy line 12, Part 3. $2 297 185.63

83. Investments. Copy jine 17, Part 4. s GF
84, Inventory. Copy jine 23, Part 5. $s Ff

85. Farming and fishing-related assets, Copy fine 33, Part 6, 5 Fo :

86. Office furniture, fixtures, and equipment: and collectibles. $ g

Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8. s GF

88. Real property. Copy line 56, Part 9. ..sccsssesscssansussssssssseuesessssiesisistitisssieeece., > $(0,5 $x, 02?

 

 

 

 

 

 

 

 

 

 

 

 

 

89. Intangibles and intellectual property. Copy line 66, Part 10, s_ DG

90. All other assets. Copy line 78, Part 11. +3 fF

91, Total. Add lines 80 through 90 for each COMM sceccscinnnne9ta, | S 2y2ehs 76.30 fy on) $12, 558, a0

92, Total of all property on Schedule A/B. Lines 91a+91b = 92. LAT n na teneeneenestanaatonsssessnusenttittissseeaesesaaganseeeteettrsentauscesess 3 id, SJ Zz E7630

 

 

 

Officfal Form 2084/8 Case 20-20219 SBhedvle ABBAgsets REA Orly etsaiar Propaae 29 of 45 page 8
 

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ETZ99 SY Ed PUELAQ “Any JEDI! O8-OZ8ZT “BpIg S31HO [EIIPalA|
000'009‘TS %O0T
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Case 20-20219 Doc#153-1 Filed 04/14/20 Page 30 of 45
4/12/20 at 15:20:17.65 Page: 1
. ’ Rojana Realty Investments, Inc.
General Ledger

For the Period From Apr 1, 2020 to Apr 30, 2020
Filter Criteria includes: 1) IDs from 1400 to 1400, Report order is by ID, Report is printed with shortened descriptions and in Detail Format.

 

 

Account ID Date Reference Jl = Trans Description Debit Amt Credit Amt Balance
Account Description
1400 4/1/20 Beginning Balance -223,825.11
Allowance for Depreci 4/1/20 GEN 12870 Metcalf Ave 6,410.26
4/1/20 GEN Florisant depreciati 2,029.91
Current Period Cha 8,440.17 -8,440.17
4/30/20 Ending Balance -232,265.28

paet GT #57

Case 20-20219 Doc#153-1 Filed 04/14/20 Page 31 of 45
  

 

 

Debtor name RoxAwA REALTY iw YESTMEWTS Y AVO.
United States Bankruptcy Court for the: Mes. gS District of Ks

(State)

Case number (Ifknown): _ AO—- ROIALS | LY Check if this is an

 

 

i
i

}

 

SecHaA rp
Creditor’s email address, if known Is the creditor an insider or related party? i
i No :
QO) Yes
Date debt was incurred Is anyone etse liable on this claim?
vas No
rast digits of account S3BPB Q Yes. Fill out Schedule H: Codebtors (Official Form 208H).
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check ail that apply.
i No fe Contingent
Yes. Have you already specified the relative BA Unliquidated
priority? QO Disputed
No. Specify each creditor, including this
creditor, and its relative priority. :
2-2 + 2.4
[I Yas. The relative priority of creditors is
a specified on lines . . . Can Ca eee een eee tee nee
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional t 6, 43 3 73/, 2S

amended filing

Official Form 206D

 

Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

2. List in alphabetical order ali creditors who have secured claims. if a creditor has more than one oun ‘. i Column B
secured claim, list the creditor separately for each claim, mount of claim Value of collateral
Do not deduct the value that supports this
of collateral. claim

Creditor's name Describe debtor's property that is subject to a lien

EF] Creditor's name Describe debtor's property that is Subject to a lien

.. Page, if any,

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?

LI No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
Yes. Fill in all of the information below.

List Creditors Who Have Secured Claims

 

 

MNTiKe OF On ANA SANK RObALG MATA Psst tge.4 s [S824 5 2,400,098

Creditor's mailing address

1299 FAR vam st #iy,7

L oe
OMAHA, WE beje2 Describe the lien SEC UA ED

 

 

 

Creditor’s email address, if known Is the creditor an insider or related party?
fa No
Yes
Date debt was incurred Is anyone else liable on this claim?
. E) no
Last4 digits ofaccount S$ OQ jf . .
number Roo jf Cl Yes. Fil! out Schedute H: Codebtors (Official Form 206H).
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? heck all that apply.
No

Contingent
QC) Yes. Specify each creditor, including this creditor, 4 Unliquidated

and its relative priority. Disputed

 

 

 

 

GREAT WESTER YW  BAWK Aat Asa PAA asso + 84 2¢) s7F20 s_¢ 9sg.cup

~, . , i
Creditor’s mailing address $8.23 7 Ss 6
106iO sHAw PEE Meayoy prwt

SHAW VEE , Ks éb 270) 3. —_— Describe the lien

 

 

 

 

 

Official Form 2060 Case 28rneWtel? CrelheretWwioravd ciaiml SEQ hha Qertyr Ade 32 of 45 page 4 of &
te

Deblor RET hy i REAL ry

Namo

Additional Page

 

LMVEST MEM YS | pwE

Case number (i Anown}

20-20 22>,

Column A Column B
Amount of claim Value of collateral

 

Copy this page only If more space is needed, Continue numbering the lines sequentially from the

previous page.

Creditor's name

CowtAsionEg BAv«

Creditor's mailing address

 

Describe debtor's property that Is subject to a ten

FRE ASA P pera HSS L,

 

 

OVER LAD PORK, £5 6€22 Ipescrive the lien

Creditor's email address, if known

 

Date debt was incurred Be f 7

Last 4 digits of account j
AATF

number
Do multiple creditors have an interest In the
same property?

C) No

CQ Yes. Have you already specified the relatlva
priority?

C2 No. Spacliy each creditor, Inctuding this
creditor, and its relative prlority.

i
a
nn

Cl Yes. The relative priority of creditors is
specifiad on lines

b.. Creditor’s name

 

Creditor's mailing address

 

 

Creditor's emall address, Hf known

 

Date debt was incurred

Last 4 diglts of account
nurber

Do muitlple creditors have an Interest in the

same property?

Cl No

(Yes. Have you already specified the relative
priority?

CY No. Specify each creditor, including this
creditor, and Its relative priority.

 

_

 

C) Yes. The relative Priority of creditors Is
specified on lines

Official Form 206D
Case 20-

SECUA ED.

Is the creditor an insider or retated party?
O} to
C) Yes

Is anyone else Hable on this claim?

C3 No

CQ) ves. Fill out Schedule H: Cadebtors (Official Form 206H).

As of the patition filing date, the clalm is:
Check all that apply.

Q Contingent
Unilquidated
Disputed

Describe dabtor's property that Is subject to a len

 

 

 

Describe the tten

 

Is the creditor an Insider or related party?
CY No
Cl ves

Is anyone alse liable on this claim?
OI No

C Yas. FH! out Schedule Ht: Cadabiors (Officlal Form 206H). {

As of the petition filing date, the clalm Is:
Check alt that apply.

C2 Contingent
Unilquidatad
Disputed

Additional Page of Sche

TS BOE TOS The Heine Geet Aad ©Y PSEREY33 Of 45

Do not deduct the value that supports this
of collateral, clalm

s GOS, IO , }, 200 gxe

page Hof F
Debtor fosnws REPLTY ) VESTNEWTS, WE Case number  kiowal 20 203as

Nama

 

List Others to Be Notified for a Debt Already Listed in Part 1

 

 

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collaction
agencies, assignees of claims listed above, and attorneys for secured creditors.

Ifno others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

On which line In Part t Last 4 digits of
did you enter the account number
related creditor? for this entity

Name and address

 

Lina 2,

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Lina 2,

 

 

 

Line 2.

 

 

 

Line 2.

 

 

 

Line 2,

 

 

 

Line 2.

 

 

 

Line 2.

 

 

Form 206D CHlticial Pet 2 oBpbpdulpYs Cred|tgrg Who Hayb-Cihims SeayIBAby FPopenty 34 of 45 page > of “2
 

Debtor ARasApr REALTY J eV eSTMENTS

United States Bankruptcy Court for the: Kawsrs csr District of Rs
(State)
Case number o- nea Ss

(If known}

 

 

 

C) Check if this is an
amended filing

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims 12445

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also fist executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Officia] Form 266G). Number the entries in Parts 1 and 2 in the boxes on the left, If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 

 

List All Creditors with PRIORITY Unsecured Claims

 

 

1. Nn any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
a No. Go to Part 2.
Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If he debtor has more than
3 creditors with priority unsecured claims, fill out and aflach the Additional Page of Part 1.

 

 

 

 

 

 

 

 

 

 

 

 

Py Total claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the claim is: 2 Oe Tr. BPs
Cy £04015 enuwty Check ail that apply. s_7 5 3 Z $ } FSO?
typ Ss. SETANL AVE FI Contingent
+. . Unliquidated
ST Less , me f£<sjeS CI Disputed
Date or dates debt was incurred Basig for the claim:
ROPERTY THLE=
Last 4 digits of account Is the claim subject to offset?
number No
; . Cl Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )
Priority creditor's name and mailing address As of the petition filing date, the claimis: ¢ “3S Sis 73 $ > 5 SIS TE
Kso4 oc muMty Check all that apply. f
PO. Bok 32149797 O Contingent |
. liquidate
Kiwsas Cor ¥ Mo G42) ~ 47470) disputed
Date or dates debt was incurred Basis for the claim: .
o PAP ERT Y Taxed
La
Last 4 digits of account Is the claim subject to offset?
number _— Na
Yes

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

 

a Priority creditor's name and mailing address As of the petition filing date, the claim is: g & 5,2 bs iflf $ q6, QELS #y
uF

 

 

 

 

 

Wht Sso4,/ ceuer ¥ Check aif that apply.

PS. cHEALY <¢ F OD QO Contingent ;

CLATHE ps Gk eG \ Disputed
Date or dates debt was incurred Bas Ot 2 claim:

PROPERTY TARE?
Dp) Tt ,
Last 4 digits of account Is the claim subject to offset?
number — No
CO Yes

Specify Code subsection of PRIORITY unsecured
claim: 41 U.S.C, § 507 (a) ( )

Official Form 206E/F Case 20-20219 ui ered Se nah ed O44 120 neh OOS 35 of 45 page 14 of 7

 
 

 

 

 

 

Debtor i Os Aw #t REPILTY di vest mgaT®, J w “ace number wt known) oO ~ 26 aas
© Additional Page
Copy this page if more space is needed, Continue numbering the lines sequentially from the
Previous page, if no additional PRIORITY creditors exist, do not fill out or submit this page. ‘Total claim Priority amount
| Priority creditor's name and mailing address 5 $

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)¢ )

2... | Priority creditor’s name and mailing address

 

 

 

 

 

 

 

 

As of the petition filing date, the claim is:
Check all that apply.
QC) Contingent

Unliguidated

Disputed

Basis for the claim:

 

Is the claim subject to offset?
CG No
O ves

 

 

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ¢ }

Official Form 206E/F

As of the petition filing date, the claim is:
Check ail that apply.
QO Contingent

Unliquidated

Disputed

Basis for the claim:

 

Is the claim subject to offset?
Oi No
O yes

 

 

 

 

3 $
As of the petition filing date, the claim is:
Check all that apply.
Q) Contingent
Unliquidated
Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number _ LC} No
: ; OQ Yes
Specify Code subsection of PRIORITY unsecured
claim: 41 U.S.C. § 507(a} ¢ )
2. | Priority crecitor’s name and mailing address $
As of the petition filing date, the claim is:
Check ail that apply.
C1 Contingent
Unliquidated
Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of account Is the claim subject to offset?
number ee ] No
. . O yes
Specify Code subsection of PRIGRITY unsecured
claim: 11 U.S.C, § 507(a) ( )
2. | Priority creditor's name and mailing address $ $

 

 

Case 20-2024 AoA Ctfedi% dno RileGhQALIAIZOns Page 36 of 45

 

page Dot 2.
Rost REALTY

Debtor

\r-yespmewrs,/ 0.

Case number (known)

 

Name

 

List All Creditors with NONPRIORITY Unsecured Claims

2d Jeg Ss,

 

B.4] Nonpriority creditor's name and mailing address
SENML ~ O- MATIC

 

ALO Mw THLELISC/ ROAD
KAWSAS CITY mo 64jI50 *

ROT

Date or dates debt was incurred
Last 4 digits of account number
s.2| Nonpriority creditor's name and mailing address

Capt AGEL + ASM cs Ares

 

IYF20 W oie TK sTRBET
LEWEXA | jee G62Is

241F

Date or dates debt was incurred

Last 4 digits of account number

3] Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

3.4] Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred
Last 4 digits of account number

5] Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is: $

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account number

Official Form 206E/F

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
unsecured claims, fill out and attach the Additional Page of Part 2.

Amount of claim

As of the petition filing date, the claim is:
Check ail that apply.
Ql Contingent
B® Unliquidated
Disputed

Basis for the clam: COMTANECTONS jFia’

Is the claim subject to offset?
Na
Yes

As of the petition filing date, the claim is:
Check aif that apply.
Q] Contingent

Unliquidated

Disputed

Basis for the claim:

 

1s the claim subject to offset?
CJ Ne

Ol Yes

As of the petition filing date, the claim is:
Check all that apply.

646, $9 & 30

$ i?, S97 54

 

Q) Contingent
OQ) uUntiquidated
Disputed

Basis for the claim:

 

Is the claim subject to offset?
C1 No
C) ves

As of the petition filing date, the claim is:
Check ail that apply. §

 

C) Contingent
Unliquidated
Disputed

Basis for the claim:

 

Is the claim subject to offset?
O No

C) yes

As of the petition filing date, the claim is:

Check all that apply. $

 

OY Contingent
Unliquidated
Disputed

Basis for the claim:

Is the claim subject to offset?
Q No
CL) Yes

 

Check ail fhat apply.
(a Contingent
QO) Untiquidated
(2 Disputed

Basis for the claim:

 

Is the claim subject to offset?
LJ No
L} Yes

Case 20-2021 aud Artedunae who HRY QA eQims PAGE 37 Of 45

 
AdwAv A REMLTY

Name

Debtor

Additional Page

 

LPOVES IEW TS We Case number Gf known) Qe ™ aS A>,

 

' Copy this page only if more space is needed. Continue numbering the lines sequentially from the:
' previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page. . ee

3.__| Nonpriority creditor’s name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

3.__| Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

3.__| Nonpriority creditor's name and mailing address

 

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

B_| Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

3.__| Nonpriority creditor's name and mailing address

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

 

Official Form 206E/F

Amount of claim

As of the petition filing date, the claim is:

Check aif that apply. $

() Contingent

(2 Unliquidated

Q) disputed

C) Liquidated and neither contingent nor
disputed

Basis for the claim:

 

Is the claim subject to offset?
Cl No
OQ) yes

As of the petition filing date, the claim is:
Check ail that apply.

 

C2 Contingent
QC) unliquidated
Disputed

Basis for the claim:

 

Is the claim subject to offset?
C) No
Yes

As of the petition filing date, the claim is:

 

Check ail that apply.

CI Contingent
Unliquidated
Disputed

Basis for the claim:

 

Is the claim subject to offset?
O No
Q) yes

As of the petition filing date, the claim is:
Chock all that apply. §

 

O Contingent
C) Unliquidated
Disputed

Basis for the claim:

 

is the claim subject to offset?
O no
QO Yes

As of the petition filing date, the claim is:
Check all that apply. §

 

C) Contingent
Unliquidated
Disputed

Basis for the claim:

ts the claim subject to offset?
CY No
QO) ves

Case 20-20 8d Baud ACG chars Who Faved QAtA/ ems Page 38 of 45

 

page 4 of 7.
Debtor Rexrarun ARALTY LMVESTMEWTS, ye. Case number (known) 40 7 no On x

Name

List Others to Be Notified About Unsecured Claims

 

 

‘4. List in alphabetical order any others who must be notified for claims listed in Parts 4 and 2. Examples of entities that may be listed are collection agencies,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: assignees of claims listed above, and attorneys for unsecured creditors.
| If no others need to be notified for the debts listed in Parts 1 and 2, do not fill cut or submit this page. If additional pages are needed, copy the next page.
Name and mailing address On which line in Part 1 or Part 2 is the Last 4 digits of
: related creditor (if any) listed? account number, if
any
41. & +h COM STAG 2£7TC As Line
SO 77O SWirtzer KoOxAD BY Notlisted. Explain, SuseewTAR PA
LOWS AYRE Ks Chlosz Fok SFA o- Matic
oo ina om ff f re

4.2, } Line

CJ Not listed. Explain —
4.3. Line

QI Not listed. Exptain ew I
Ad. dine

L) Not listed. Explain — —
At. Line
QQ Not listed. Explain —
45, Line

O Notlisted. Exptain —
4.6. Line
€) Notlisted. Exptain ae
!
47. Line

Q) Not listed. Explain —
4.8, Line

L] Notlisted. Explain ee
4.9, Line

C1 Not listed. Explain —
4.10. Line

Q] Not listed. Explain — —
4.11. Line

LY Not listed. Explain — —

 

 

Official Form 206E/F Case 20-20 Bd eauideeCtelitors Who Fale Ald GQms Page 39 of 45 page? of 7
 

 

 

Debtor ROSA Ret Y pw VEST eet”

Narac

d Additional Page for Others to Be Notified About Unsecured Claims

Case number tiranawn)

20 - 2p 225

 

Name and mailing address

On which line in Part 1 or Part 2 is the
related creditor (if any) listed?

Line

 

 

QO) Notlisted. Explain

 

 

Line

 

 

 

QO) Notlisted. Exptain

 

 

 

Last 4 digits of
account number,
if any

 

 

 

 

TC) Notlisted, Explain

 

 

 

 

 

 

LJ Not listed. Explain

 

 

 

 

C1 Nottisted. Explain

 

 

 

 

()  Notiisted. Explain

 

 

 

 

QO) Notlisted. Explain

 

 

 

 

 

CL] Notlistad, Explain

 

 

 

 

 

Q) Notlisted. Explain

 

 

 

 

 

 

LJ Notlisted. Explain

 

 

 

 

 

Ql Not listed. Explain

 

 

 

 

 

 

() Notiisted. Explain

 

 

Line

 

LY Not listed. Explain

 

 

 

 

Line

 

C1 Not tisted. Explain

 

 

Official Form 206E/F

 

Case 20-20 ed Sauile RCE reuinsrs Who Fee n Qty ES ms Page 40 of 45

 

page 6 of 2
Debtor Rar, KETLTY LM YRET EWE, WWE, Case number (known) QP - 20 BAS

Name

 

: Total Amounts of the Priority and Nonpriority Unsecured Claims

 

 

5. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

5a. Total claims from Part 1 Sa. 4 a Is AD i, tf

5 658, 445, R44

 

 

5b. Total claims from Part 2 5b. *
a8,
Se, Total of Parts 1 and 2 se, 3 73, 67,38
Lines 5a + 5b = 5c.

 

 

 

 

 

Official Form 206E/F Case 20-20 Bd Qauid ee rchiders Who FuleG Qh eQins Page 41 of 45 page off
AIM am allem ance) anireh dela Com slcgal chat anteater: Fton

Debtor name A esSAWA REAL TY jpyeia Frys, poe:

United States Bankruptcy Court for the: KAW SAIS  < SF¥ _ district of Ks

(Slate)

Case number (ifknown): = AO QOQIS Chapter

 

 

C) Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12415

 

 

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

OD No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
L) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official

 

Form 206A/B).
2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease
State what the contract or BLDG Lirsk Bu UE VALLEY SURiCAL ASS I jee
2.1 ‘lease is for and the nature =
of the debtor's interest F366 Vb # SS, I Cav Hes) F o _&S x A494 ° 6

 

OVER pw p PARK ks 66987

State the term remaining

 

 

List the contract number of
any government contract

 

 

 

State what the contract or 8 Lb oe £EMEE iy
2.2 lease is for and the nature
of the debtor's interest F 20 Afy # &2

 

 

State the term remaining

 

List the contract number of
any government contract -

 

State what the contract or BLPG LASSE if -
2.3. lease is for and the nature :
of the debtor's interest 26g Af & = = SS, 3

 

State the term remaining

 

List the contract number of
any government contract

State what the contract or BL b e LEAs E if
J is f d th
Stoeaorsmant” F266 ALB #35.

 

 

 

2.4

 

 

State the term remaining

List the contract number of
any government contract

 

 

State what the contract or !
2.5 lease is for and the nature
of the debtor's interest —_——

 

 

State the term remaining

 

 

List the contract number of
any government contract —

 

 

Official Form 206G Case 28st20Wd@ Exdowoy Chbttacs ant Weckdidd Lda Page 42 of 45 page 1 of 2
Debtor Case number ( Anowny
Name

|_| Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease

State what the contract or

 

2. lease is for and the nature
of the debtor's interest

 

State the term remaining

List the contract number of
any government contract

 

 

State what the contract or
2. lease is for and the nature
of the debtor's interest

 

 

State the term remaining

 

List the contract number of
any government contract

 

 

State what the contract or
2 lease is for and the nature
of the debtor's interest

 

 

State the term remaining

List the contract number of
any government contract

 

 

State what the contract or

 

2. lease is for and the nature
of the debtor's interest

 

State the term remaining

List the contract number of
any government contract

 

 

State what the contract or
2._ _ lease is for and the nature
of the debtor's interest

 

 

State the term remaining

List the contract number of
any government contract

 

 

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Debtor name _ OSAMA REALTY js TM™ ETS ye

United States Bankruptcy Court for the: KANSAS CTY district of KS

{State)

Case number (If known): 2p - 26 2235

 

 

C3 Check if this is an
amended filing

Official Form 206H
Schedule H: Codebtors 12115

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.

 

1. Does the debtor have any codebtors?
BB No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

OC ves

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

 

 

 

 

 

 

 

 

Column 1; Godebtor Column 2: Creditor
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Official Form 206H Case 20-20219  Dsaféaul®-chdebioded 04/14/20 Page 44 of 45 page 1 of
Debtor
arta

a Additional Page if Debtor Has More Codebtors

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Column 1: Codebtor

Case number [a ancien

Column 2: Creditor

 

 

 

 

 

 

 

 

 

 

 

Name Mailing address
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Official Form 206H Case 20-20219  skheditte &5cmdbptors led 04/14/20

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Check ail schedules
that apply:

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